Case: 1:16-cv-0394O Document #: 1 Filed: 04/01/16 Page 1 of 6 Page|D #:1

45 8-1 2423 RAV/lak

UNITED STATES DISTRICT C()URT
FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ARJUN GROVER, )
)

Plaintiff, )

)

vs. ) No.:

)

AL RAYYAN TOURISM INVESTMENT, )
COMPANY and RADISSON CHICAGO MP )
MANAGEMENT, LLC, d/b/a RADISSON )
BLU AQUA HOTEL, )
)

Defendants. )

NOTICE OF REMOVAL

 

NOW COMES the Defendant, RADISSON CHICAGO MP MANAGEMENT, LLC,
hereinafter referred to as “RADISSON CHICAGO”, by and through its attorneys, STONE &
JOHNSON, CHARTERED, and hereby files this Notice of Removal based on the following:

l. On or about l\/larch 14, 2016, the Plaintiff, ARJUN GROVER, filed a summons and
Complaint in the Circuit Court of Cook County, lllinois under case number 2016 L 002677 against
the Defendant, RADISS()N CHICAGO and AL RAYYAN TOURISM lNVESTl\/IENT
COMPANY, as a result of an incident Which allegedly took place at the Filini Restaurant located
221 North Columbus Drive in Chicago, Cook County, lllinois on May 20, 2015. A copy of
Plaintist Summons and Cornplaint is attached hereto as Exhibit “A”.

2. On or about March 15, 2016, a copy of the Plaintiff’s Cornplaint Was served on
RADISSON CHICAGO. A copy of the Notice of Service of Process is attached hereto as Exhibit

G€B,’

Case: 1:16-cv-0394O Document #: 1 Filed: 04/01/16 Page 2 of 6 Page|D #:2

3. According to Plaintiff’s Complaint, the Defendant, AL RAYYAN TOURISM
INVESTMENT COMPANY, is a wholly owned subsidiary of AL FAISAL HOLDING
COMPANY which is based in Qatar. The Defendant, AL RAYYAN TOURlSl\/l INVESTMENT
COMPANY, has not yet been served in this matter or filed any responsive pleadings

4. According to Plaintiff’ s Complaint, the Defendant, RADISSON CHICAGO,
allegedly owned, operated, managed, maintained, and controlled the Filini Restaurant involved in
this incident, and allegedly improperly maintained its chairs at the restaurant causing Plaintiff to
sustain various injuries when a chair collapsed while he was sitting on it on May 20, 2015.

5. According to Plaintiff’ s Complaint, the Plaintiff resides in lndiana, and upon
information and belief has been a resident of lndiana at all relevant times including at the time of
filing this Complaint.

6. The Defendant, RADISSON CHICAGO, is a Delaware limited liability company.
The sole member of RADISSON CHICAGO is Carlson Hotels Management Corporation which
is a New Jersey Corporation with its principal place of business and headquarters in the state of
Minnesota.

7. According to Plaintiffs Complaint, the Defendant, AL RAYYAN TOURISl\/l
INVESTMENT COMPANY, is a wholly owned subsidiary of AL FAISAL HOLDING
COMPANY based in Qatar.

8. Pursuant to the provisions of 28 USC Section 1446, a defendant desiring to move
a case to Federal Court must comply with three elements in order to effectively remove a case, (l)
complete diversity among the parties, (2) unanimous consent amongst the served defendants, and
(3) the Notice of Removal must be filed within thirty (30) days of service on the first served

defendant

Case: 1:16-cv-0394O Document #: 1 Filed: 04/01/16 Page 3 of 6 Page|D #:3

9. All served defendants in this case consent to the removal to Federal Court, there is
complete diversity among the parties, and the Notice of Removal has been filed within thirty (30)
days of service on the first served defendant

10. According to the Complaint, the Plaintiff, ARJUN GROVER, allegedly sustained
during the subject incident personal injuries resulting in significant injuries and resulting damages

11. According to the medical records obtained before suit was filed, the Plaintiff
allegedly aggravated a pre~existing low back, neck, and hip condition during the subject incident,
and has been receiving physical therapy, chiropractic treatment, and pain shots for these
conditions

12. According to the medical records obtained before suit was filed, the Plaintiff was
diagnosed with a torn tendon in his shoulder following the subject incident which was confirmed
on an l\/IRI taken on July 9, 2015.

13. The Plaintiff has sought damages in an amount exceeding $50,000 in the prayer for
relief in his Complaint filed in the Circuit Court of Cook County Illinois under case number 2016
L 0026'77. Therefore, the amount in controversy in this case exceeds 375,000 exclusive of interest
and costs.

14. Under the provisions set forth in 28 USC Section 1332, this court has jurisdiction
when complete diversity of citizenship exists between the plaintiff and all defendants, and the
matter in controversy exceeds the sum of $75,000, exclusive of interest and costs.

15. A Notice of Filing of Removal has been timely filed with the Circuit Court of Cook
County, lllinois. A copy of the Notice of Filing of Removal is attached hereto as Exhibit “C”.

WHEREFORE, the Defendant, RADISSON CHICAGO MP MANAGEMENT, LLC,

removes this action to the United States District Court for the Northern District of lllinois.

Case: 1:16-cv-0394O Document #: 1 Filed: 04/01/16 Page 4 of 6 Page|D #:4

Richard A. Valek

STONE & JOHNSON, CHARTERED
111 West Washington Street

Suite 1800

Chicago, lllinois 60602

(312) 332~5656
rvalel<@stonejohnsonlaw.com

Respectfully submitted,

sToNE & JoHNS ~ »;.CHAR_H ERED

By: g

One of the Attorneys for Defendant,
RADISSON CHICAGO MP MANAGEMENT,
LLC

  

 

Case: 1:16-cv-0394O Document #: 1 Filed: 04/01/16 Page 5 of 6 Page|D #:5

ATTORNEY’S RULE 11 CERTIFICATION
The Undersigned attorney certifies that he has read the foregoing Notice of Removal, that
to the best of his knowledge, information and belief, formed after reasonable inquiry it is well
grounded in fact the same is warranted by existing law or a good faith argument for the extension,
modification, or reversal of existing law, and that it is not interposed for any improper purpose,

such as to harass or to cause unnecessary delay or needless increase in the cost of litigation.

 

 

Richard A. Valek, Attorney for Defendant,
RADISSON CHICAGO MP l\/IANAGEMENT,
LLC

Case: 1:16-cv-0394O Document #: 1 Filed: 04/01/16 Page 6 of 6 Page|D #:6

EFENDANT’S RULE 11 CERTIF CATION

 

'I`he undersigned Defendant, certifies, subject to the penalties provided by law, that lie/she
has read the foregoing Notice of Removal and that to the best of his/her knowledge, information,
and belief, the matters stated therein, as they pertain to the Defendant, are true in substance and

fact except those matters which are alleged on information and belief, which lie/she believes are

Q»\ fl /géz'°) z/'.>»s/zl»

mcbrsz cincAGo MP MANAGEMENT, LLc

true.

